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     10
          Attorneys for Defendant, Counterclaimant, and
     11   Third-Party Plaintiff, Corcoran Group LLC
     12
     13                        UNITED STATES DISTRICT COURT
     14                       CENTRAL DISTRICT OF CALIFORNIA
     15
     16   ELI Realty Investments, LLC, a Nevada      Case No. Civil Action No. 8:22-CV-
          limited liability company; Exclusive                 01195
     17   Lifestyles SoCal, LLC, a California
          limited liability company; Exclusive       Hon. John W. Holcomb
     18   Lifestyles San Francisco^ Inc., a
          California corporation; Exclusive
     19   Lifestyles Ohio, LLC, an Ohio limited      Counterclaims Filed: January 12,
          liability company; and Exclusive                     2023
     20   Lifestyles Las Vegas, LLC, a Nevada
          limited Liability company,                 STIPULATION REGARDING
     21                                              THE DISMISSAL OF ALL
                         Plaintiff,                  COUNTERCLAIMS AND
     22                                              CLAIMS OF ANY NATURE
                   v.                                MADE ON BEHALF OF
    23                                               MICHAEL MAHON, PAMELA
          Corcoran Group LLC, a Delaware             MAHON, AND MRM
    24    limited liability company; DOES 1          INVESTMENTS LLC AGAINST
          through 10,                                CORCORAN GROUP, LLC
     25
                         Defendant.
     26
          Corcoran Group LLC
     27
                         Counter claimant and
     28                  Third Party Plaintiff,
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      1           v.
     2    ELI Realty Investments, LLC; Michael
          Mahon; Pamela Mahon; MRM
     3    Investments, LLC; AIM High Capital
          Partners, LLC; Libertas Funding LLC;
     4    Matek LLC; Exclusive Lifestyles SoCal,
          LLC; Exclusive Lifestyles San Francisco,
     5    Inc • Exclusive Lifestyles Ohio, LLC;
          Exclusive Lifestyles Las Vegas, LLC;
     6    Exclusive Lifestyles Tahoe, LLC; ana
          DOES 1-10
     7
                           Counterclaim and Third
     8                     Party Defendants.
     9
          Libertas Funding LLC* Michael Mahon
    10    Pamela Mahon, and MRM Investments,
          LLC,
    11
                           Third Party
    12                     Counterclaimants,
                    v.
    13
          Corcoran Group, LLC,
    14
                           Third Party Counterclaim
    15                     Defendant.
    16
                  This Stipulation is made by and among (i) Corcoran Group, LLC (“Corcoran”),
     17
          (ii) Michael and Pamela Mahon (the “Mahons”), and MRM Investments LLC
     18
          (“MRM”) regarding the dismissal of all counterclaims and claims of any nature made
     19
          by and/or on behalf of the Mahons and MRM against Corcoran in this action (the
    20
          “Mahon Claims”).
    21
                                               RECITALS
    22
                   1.    On June 21, 2022, ELI Realty Investments, LLC (“ELI Realty”),
    23
          Exclusive Lifestyles San Francisco, Inc. (“Exclusive San Francisco”), Exclusive
    24
          Lifestyles SoCal, LLC (“Exclusive SoCal”), Exclusive Lifestyles Las Vegas, LLC
    25
          (“Exclusive Las Vegas”), Exclusive Lifestyles Tahoe, LLC (“Exclusive Tahoe”) and,
    26
          Exclusive Lifestyles Ohio, LLC (“Exclusive Ohio”) filed suit against Corcoran (the
    27
          “Complaint”). ECF No. 1.
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      1           2.    On June 27, 2022, Corcoran filed a counterclaim against ELI Realty
     2    Investments, LLC, Exclusive San Fran, Exclusive SoCal, Exclusive Las Vegas,
      3   Exclusive Tahoe, and Exclusive Ohio (“Counterclaims”), along with a third party
     4    complaint against Third Party Defendants Michael Mahon, Pamela Mahon, MRM
      5   Investments LLC, Aim High Capital Partners, LLC, Libertas Funding LLC, and
     6    MatekLLC. ECFNo. 12.
     7            3.    On January 12,2023, the Mahons and MRM filed counterclaims against
      8   Corcoran. ECF No. 102.
      9           4.    On July 10, 2023, the Mahons filed a voluntary petition under Chapter
     10   7 of the Bankruptcy Code in the Central District of California under Case No.: 23-
     11   bk-11395-TA (the “Mahon Bankruptcy Proceeding”). ECF No. 1, in Case No. 23-
     12   bk-11395-TA.
     13           5.    In a Stipulation filed in the Bankruptcy Case on November 17, 2023
     14   (ECF No. 67, in Case No. 23-bk-11395-TA) (the “Mahons-Corcoran Stipulation”),
     15   the Mahons stipulated and agreed to the following:
     16
     17           3.    Debtors’ shall not prosecute or pursue any counterclaims or
                  claims of any nature on behalf of Michael Mahon, Pamela Mahon,
     18           and/or MRM Investments LLC against Corcoran in the District Court
     19           Action. Debtors and Corcoran acknowledge the Chapter 7 Trustee
                  retains all rights to prosecute or pursue any counterclaims or claims of
    20            any nature on behalf ofMichael Mahon, Pamela Mahon, and/or MRM
    21            Investments LLC against Corcoran in the District Court Action.

    22            4.    Debtorsf hereby consent to the dismissal, with prejudice, of all
    23            counterclaims and claims of any nature on behalfofMichael Mahon,
                  Pamela Mahon, andMRMInvestments LLC against Corcoran in the
    24            District Court Action (the “Dismissal”), provided that such Dismissal
    25            shall be subject to: (a) effective abandonment ofsuch claims by the duly
                  appointed chapter 7 trustee in the Debtors ’ bankruptcy proceeding (the
    26             “Trustee”): (b) consent of the Trustee to the Dismissal approved by
    27            subsequent court order; or (c) entry of an order or judgment in the
                  District Court Action, after the applicable provisions of 11 U.S.C. § 362
    28            have expired or been modified. Upon any future request of Corcoran,
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      1           Debtors ’ shall consent to modify the applicable provisions of 11 U.S.C.
     2            § 362 in order to allow Corcoran to seek dismissal, with prejudice, of
                  all counterclaims and claims ofany nature on behalfofMichael Mahon,
     3            Pamela Mahon, and MRM Investments LLC against Corcoran in the
     4            District Court Action.

     5            5.    Debtors ’ hereby stipulate that all counterclaims and claims of
     6            any nature on behalf of Michael Mahon, Pamela Mahon, and MRM
                  Investments LLC against Corcoran in the District Court Action (the
     7             “Mahon Claims ”) cannot be sustained, are burdensome to the Debtors ’
     8            bankruptcy estate, and are of inconsequential value and benefit to the
                  Debtors ’ bankruptcy estate. Notwithstanding such stipulation, Debtors
     9            and Corcoran acknowledge the Chapter 7 Trustee retains all rights to
    10            prosecute or pursue any counterclaims or claims ofany nature on behalf
                  of Michael Mahon, Pamela Mahon, and/or MRM Investments LLC
    11            against Corcoran in the District Court Action.
    12    ECF No. 67, in Case No. 23-bk-l 1395-TA (emphasis added).
    13             6.   An order approving the Mahons-Corcoran Stipulation was entered in the
    14    Mahon Bankruptcy Proceeding on November 22,2023. ECF No. 69, in Case No. 23-
    15    bk-l 1395-TA.
    16             7.   In a Stipulation filed in the Bankruptcy Case on December 27, 2023
    17    (ECF No. 67, in case no. 23-11395) (the “Trustee-Corcoran Stipulation”), Richard
    18    A. Marshack, the Chapter 7 Trustee in the Mahon Bankruptcy Proceeding (the
    19    “Trustee”) stipulated and agreed to the following:
    20
                  In light ofthe Debtors ’ stipulations in the Debtor-Corcoran Stipulation,
    21            and other factors, the Trustee believes that the Mahon Claims'^] are
    22            burdensome to the Debtors ’ bankruptcy estate, or are of
                  inconsequential value and benefit to the Debtors’ bankruptcy estate.
    23            Accordingly, the Trustee stipulates to abandonment of the Mahon
    24            Claims pursuant to 11 U.S.C. § 554.
    25    (ECF No. 85, in Case No. 23-bk-l 1395-TA).

    26
    27
    28    1 As defined in paragraph 5 of the Mahon-Corcoran Stipulation.
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      1   An order approving the Trustee-Corcoran Stipulation was entered in the Mahon
      2   Bankruptcy Proceeding on January 3, 2024 (the “Abandonment Order”). (ECF No.
      3   87, in Case No. 23-bk-l 1395-TA). The Abandonment Order orders:
      4
                  [A]ll counterclaims and claims of any nature on behalf of Michael
      5           Mahon, Pamela Mahon, and MRM Investments LLC against Corcoran
      6           Group LLC in the litigation captioned ELI Realty Investments, LLC, et
                  al. v. Corcoran Group LLC, et al., which is pending in the United States
      7           District Court for the Central District of California under Case No.:
      8           8:22-CV- 01195-JWH-ADS, are hereby abandoned by the Trustee
                  pursuant to 11 U.S.C. § 554.
      9
     10            8.    In light of the Mahon-Corcoran Stipulation, the Trustee-Corcoran
     11   Stipulation and other factors, the Mahons and MRM stipulate to dismissal, with
     12   prejudice, of the Mahon Claims.
     13            9.   Nothing in this Stipulation alters the discharge received by the Mahons
     14   in the Mahon Bankruptcy Proceeding.
     15
     16                                    II. STIPULATION
                  WHEREFORE, it is hereby stipulated and agreed by and between the
     17
     18   undersigned counsel of the parties to the above-captioned action that all the Mahon

     19   Claims are dismissed with prejudice pursuant to Rule 41(a) of the Federal Rules of
          Civil Procedure, with each party to bear its own costs, including attorneys’ fees other
    20
          than as agreed by the parties.
    21
    22            IT IS SO STIPULATED AND AGREED.

    23
           DATED: January _,
                          23 2024             STRADLING YOCCA CARLSON & RAUTH
    24                                        A Professional Corporation
     25
     26
                                              By: /s/
                                                  Steven M. Hanle
     27                                           Jason H. Anderson
                                                  Ahmad S. Takouche
     28
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      1                                 Attorneys for MRM Investments, LLC
      2
      3    Dated: January 2f>, 2024    K&L GATES, LLP

      4
                                       By: /s/      !
      5                                     Daniel M. Eliai
      6                                 Attorneys for Corcoran Group, LLC
      7
      8    DATED: January^, 2024
      9
     10
    11
                                        Attorneys for Michael Mahon and Pamela
     12
                                        Mahon
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